525 F.2d 690
    COMMUNITY BANK et al., Appellants,v.FEDERAL RESERVE BANK OF SAN FRANCISCO, and Board ofGovernors of the Federal Reserve System, Appellees.
    No. 73--1808.
    United States Court of Appeals,Ninth Circuit.
    Nov. 25, 1975.
    
      ORDER
      Before TRASK and SNEED, Circuit Judges.
    
    
      1
      This Order is to amend the opinion in Community Bank v. Federal Reserve Bank of San Francisco, 500 F.2d 282 (9th Cir. 1974).  The first full sentence on page 286 is hereby amended to read:
    
    
      2
      Section 210.9(a)(1) of the amended Regulation J, however, makes a payor bank accountable if it fails to settle for demand items before the close of its banking day of receipt, and Section 210.12(a) provides that only if settlement has been made by this time may the payor bank revoke prior to midnight of the banking day (next following the banking day) of receipt.
    
    